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UNITED STATES DISTRICT COURT

WESTERN DISTRICT OF TENNESSEE 85 jo_:\- 211 dial j_ _4
Western Division " ' i g
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UNlTED STATES OF AMERICA CLEF\`K, U.S. D£ . JT.
W,D. CF TN. ME.wiPHIS
-vs- Case No. 04-20308-Ml
CLARENCE PEGUES

 

ORDER OF DETENTION PENDING FlNAL REVOCAT|ON
FlND|NGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(1), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
appearance of the defendant as required or the safety of any other person and the
community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing.

DlRECTlONS REGARD|NG DETENT|ON

CLARENCE PEGUES is committed to the custody of the Attorney General or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. CLARENCE PEGUES shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
govermnent, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

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f JON PHIPPS MCCALLA
ITED sTATEs DIsrchT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 29 in
case 2:04-CR-20308 was distributed by faX, mail, or direct printing on
Apri129, 2005 to the parties listed.

 

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Honorable .1 on McCalla
US DISTRICT COURT

